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__ THIRD JUDICIAL DISTRICT A'r ANCHQRAGE f
CHRrsToPHER J. MCINTYRE, »

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)
)
Plaintiff, )
)
VS. ) ` k
) §
BP EXPLORATION AND PRODUCTION, ) §
INC., BP AMERICA PRODUCTION )
COMPANY, JOHN'DOES 1~20, )
)
Defendants. )
)

ease NO. 3AN-13__§§1_QO__ C; ";

 

COMPLAINT
COMES NOW thc plaintiff, CHRISTOPHER J. MCINTYRE, pro Se, and

hereby states, claims, pleads, alleges and complains as his causes of action in the

 

instant matter as follows:

IURISDICTIGN and PARTIES

 

 

 

l. At all times relevant hereto, plaintiff Christopher Mclntyre, Was a

 

 

resident of the State of Alaska, located Within the Third Judicial District.
Plaintiff Christopher Mclntyre Was the victim of the culpable negligence
of the defendants herein insofar as he has suffered economic damages
from breach of contract or implied contract and fraud pertaining to his

ideas, designs, calculations and invention §

 

2. To the best of plaintiffs knowledge, information and belief, at all

times relevant hereto, the Defendant, BP EXPLORATION AND

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PRODUCTION COMPANY, INC. Was and is a business entity doing
business in and located in the Third Judicial District, State of Alaska
and/or doing business in the United States of America and communicated
With plaintiff and Solicited proposals from plaintiff Within the Third
Judicial District of Alaska. By naming said defendant, plaintiff intends to
sue all predecessors and successors in interest of said defendant, all
subsidiaries,` subdivisions, agents, and/or affiliated companies of said
defendant, all holding companies of said defendant, and the predecessor
and successors in interest of same for their culpable conduct complained
of herein.

3. To the best of plaintiffs knowledge, information and belief, at all
times relevant hereto, the Defendant, BP AMERICA PRODUCTION
COMPANY Was and is a company doing business in and located in the
Third Judicial District, State of Alaska and/or doing business in the United
States of America and communicated With plaintiff and solicited
proposals from plaintiff within the Third Judicial District of Alaska. By
naming said defendant, plaintiff intends to sue all predecessors and
successors in interest of said defendant, all subsidiaries, subdivisions,
agents, and/or affiliated companies of said defendant, all holding
Companies of said defendant, and the predecessor and successors in
interest of same for their culpable conduct complained of herein.

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4. Defendants, JOHN DOES l-l(), Individually and as Officers,
Agents, Directors, and/or Employees and/or lndependent Contractors of
Defendants Were director(s) and/or officer(s), and/or employed by and/or
independently contracted by the defendants BP Exploration and
Production, lnc. and BP America Production Company and are and/or
Were individuals doing business in the State of Alaska and/or doing
business in the United States of America and Were acting in the course
and/or scope of their employment and/or agency at the time the plaintiff

' entered into a contract or implied contract With said defendants Suit is
brought as to said defendants under respondeat superior liability/vicarious
liability. John Does l-lO acted in a negligent and/or Willfully reckless
and/or Willful and Wanton manner so as to breach duties owed to plaintiff
in a culpable fashion With reckless and Willful disregard of the
consequences and Which breach Was a proximate cause of and/or a

` substantial factor in causing plaintiffs damages

5. Defendants, JOHN DOES ll~20 are corporations and/or business
entities and/or partners Who are and/or Were entities doing business in the
State of Alasl<a and/or doing business in the United States of America and
Were acting in the course and/or scope of their employment and/or agency
at the time the plaintiff entered into a contract or implied contract With
said defendants Suit is brought as to said defendants under respondeat

superior liability/vicarious liability. John Does l l-ZO acted in a negligent

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Exhi"it A

 

 

 

 

 

 

 

 

 

 

and/or willfully reckless and/or willful and wanton manner so as to breach

duties owed to plaintiff in a culpable fashion with reckless and willful

disregard of the consequences and which breach was a proximate cause of

and/ or a substantial factor in causing plaintiff s damages.

6. lt is the intent and purpose of the filing and service of this

Complaint to give notice to all culpable defendants, and to preserve

plaintiffs right to obtain relief from same, and all named defendants are

requested to notify all culpable defendants and parties

7. BP Exploration and Production, lnc. and BP America Production

Company and their parent and/or subsidiary in interest and/or predecessor

and/or successor in interest and/or alter ego of said business entity and

JOHN DOES 1-2() are collectively referred to herein as “Defendants.”
ALLEGATIONS

8. On or about April 20, 2010, the Macondo oil well located in the

Gulf of Mexico exploded, causing the start of the worst oil spill in the

history of the United States.

9. Defendants BP Exploration and Production, Inc. and BP America

Production Company were directly in charge of and responsible for the

well and the discharge of oil.

lO. On or about May 4, 2010, through July 9, 2010, the defendants

named herein, issued a request for proposals to the public soliciting

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proposals from them for alternative response technology to stop the flow

of oil or contain the discharge of oil into the Gulf of Mexico.
ll. On or about May ll, 2010, from his home in the Third Judicial '
District of Alaska, plaintiff, Christopher l\/lclntyre, responded to the f
solicitation for proposals, and in good faith of implied contract, provided a
proposal for the capping of the well and by providing his own unique
ideas as to the design for the required mechanical device for doing so.

12. From the time period ofMay ll, 2010, through July 15, 2010,
plaintiff exchanged correspondence via email with defendants, and, at the
request of defendants, and in good faith of implied contract, he provided §
diagrams, designs, calculations, and other information that would allow l

defendants to stop the discharge of oil into the Gulf of Mexico. ‘

 

13. The ideas, diagrams, designs, calculations, and other information

 

provided by plaintiff to defendants, were unique, and constituted his own
intellectual property and his own invention.

l4. Defendants stopped communications with plaintiff on or about July

 

15, 2010.
15. Defendants used plaintiffs ideas and designs to create a device that l
successfully stopped the free discharge of oil into the Gulf of Mexico on

or about July 15, 2010.

 

16. Defendants have not paid anything to plaintiff for the use of his ¥

 

 

ideas and designs
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l7. Defendants have not given any credit or recognition to plaintiff for

the use of his ideas and designs

18. 'l`he ideas, designs, calculations and invention of plaintiff were of
immense monetary value in allowing defendants to stop the flow of oil
into the Gulf of Mexico.

l9. Defendants have now shared plaintiffs ideas, designs, calculations
and invention with other oilfield companies and said inventions and
intellectual property of plaintiff is now being implemented and used
throughout the oil industry.

20. Defendants’ acts or omissions are a breach of contract or implied
contract, and are actionable

COUNT l
BREACH OF CONTRACT or of IMPLIED CONTRACT

21. Plaintiff hereby realleges and incorporates by reference all the
allegations contained in paragraphs l through 20 as if fully set forth
herein. q

22. On or about May l l, ZOlO, a contract or an implied contract was
entered into between plaintiff and defendants whereby plaintiff provided
his ideas, designs, calculations and invention (“proposals”) to defendants
and if the proposals of plaintiff were to be utilized, defendants in turn
were to pay plaintiff an appropriate and reasonable amount commensurate

with the benefit they provided to defendants

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Exh§bit A

 

 

 

 

 

 

 

 

 

 

23. On or about l\/lay ll, 2010, a contract or implied contract was
entered into between plaintiff and defendants whereby plaintiff provided
his ideas, designs, calculations and invention (“proposals”) to defendants
and in exchange, defendants were to keep the information in a confidential
manner so as not to share said information with other entities in the oil
industry.

24. Defendants breached the contract or implied contract with plaintiff
by utilizing his proposals without paying anything to plaintiff for their
use.

25. Defendants breached the contract or implied contract with plaintiff
by sharing plaintiff s proposals with other entities in the oil industry.

26. Violation of other duties and/or culpable acts and/or omissions will
be revealed through discovery and this Complaint will be amended
accordingly

27. As a direct and proximate result of the breach of the contract and/or
implied contract by defendants and each of them, caused substantial
financial and economic harm to plaintiff, in an amount in excess of
Sl,()()0,000.00 (one million dollars) and plaintiff is entitled to an award
against each of defendants jointly and severally for all actual
compensatory damages and for an award of punitive damages as pled

herein as to each of the defendants in an appropriate amount

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COUNT ll
FRAUD AND PUNITIVE DAMAGES

28. Plaintiff hereby realleges and incorporates by reference all the
allegations contained above.

29. At various times prior to July 15, 2010, defendants informed
plaintiff that they would not be able to utilize plaintiff s proposals

30. Afterltelling plaintiff that they would not be able to use his
proposals defendants then proceeded to use the proposals and with said
proposals succeeded in stopping the oil spill.

3 l. Defendants claimed plaintiff s proposals as their own, and hid the
fact that it was plaintiff s proposal that successfully stopped the oil spill.
32. Defendants’ wrongful conduct was done with the intent to deceive
plaintiff and to avoid paying plaintiff for his proposals and to take credit
for the proposals within the industry and before government officials
33. The wrongful and fraudulent actions of defendants deprived
plaintiff of substantial payments and additional sales within the oil
industry, causing him damage in an amount in excess of $l,OOO,()O0.00
(one million dollars).

34. Defendants acted intentionally and/or recklessly with extreme
disregard for the welfare of plaintiff

35. Upon a finding that defendants and each of them acted

intentionally and/or recklessly in connection with the proposals of

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plaintiff, defendants and each of them, should be held liable for all
damages they have caused to plaintiff and for punitive damages with due

regard for the net worth of the defendants the economic benefit from the

activity, the culpable nature of the conduct, the potential and actual

consequences and the applicable provisions of the law, in an amount to be
determined by the trier of fact. §

‘ COUNT lll §
COMMON LAW AND STATUTORY CAUSES OF ACTION ‘

36. Plaintiff hereby realleges and incorporates by reference all the
allegations contained above and further alleges as follows:
37. lt is the intent of the plaintiff, by filing this complaint, to assert and
preserve all applicable causes of action at common law, or under the
statutes of the State of Alaska, against all culpable parties and defendants
arising from the facts and circumstances set out in this complaint, and to

preserve his rights in light of any applicable statute of limitations and to

 

give notice to all such culpable parties and if need be, an amended z
complaint, or amended complaints will be filed with due diligence to
effectuate same.

PRAYER FOR RELIEF

!W

WHEREFGRE, plaintiff prays for a judgment of relief against defendants

 

and each of them, as follows:
l) For monetary damages the exact amount to be proven at trial;

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For special damages according to proof at trial;
3) ln the event that the jury concludes that any defendant is guilty of fraud

and/or having acted intentionally and/or with reckless indifference to the
rights of plaintiff, for an award of punitive damages in accordance with

proof at trial;

 

4) F or costs interest, and attorney’s fees; and
5) F or such other further relief as the Court may deem equitable and just.

DATED this 9th day of July, 2013, in Eagle River, Alaska.

 

 

Christop er l\/lclntyre, Péa/int'{ff
l9978 Tulwar Drive

Chugiak, AK 99567

(907) 688~0l 81

 

 

Complaint
l\/lclntyre v, BP, et a|., Case No. 3AN-13- C|
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THIRD JUDICIAL DisTRICr Ar ANcHoRA'GE? 5;; , ` j°:" _
CHRisroPHER J. Mcii\irvius, ) ' » 7 ’ §
Plaintiff, ) _ j \ ` " t .
) " 5_.§.1:.\ 5
'vs. )
' )
BP EXPLORATION AND PRODUCTION, )
lNC., BP AMERICA PRODUCTION )
COMPANY, JOHN DOES 1-20, )
)
Defendants ) z 0
) Case No. 3AN-l3- ’ CI
DEMAND FOR JURY TRIAL
The above-named Plaintiff hereby demands a jury trial on all issues so
triable in this matter.
DATED this 9th day of July, 2013, at Eagle River, Alaska.
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@/hristopl'fer Mclntyre, Plziintiff
19978 Tulwar Drive
Chugiak, AK 99567
(907) 688-0l8l

 

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Derendani(s). ) NoricE ro nom PARriEs
) oF JUDi(t;:iAL AssiGNi\pi‘gNi:w 5
. § §_ , . § 297
To Defendant: y Am£i?.lCA ?KQDV@?_|;C\)U ' MM¢V/y A zNTq§;;oCéo: i;; l‘/'WV STE”;@?-
You are hereby sumrfidiile)d£cdlijeq\fin%djto file with the court a written ansv€e‘rlt'oii§§cog`pl`afrii"l' 9739!

which accompanies this summons Your answer must be filed With the court at 825 W. 4th Ave.,
Anchorage, Alaska 99501 Within 20 days* after the day you receive this summons In addition,
y of your answer must be sent to the plaintiffs attorney or plaintiff (if unrepresented)

aC(Q/'PH¢ISTDFl/Ea /HC/N`TV»QE ,Whose address is: _/?‘l7f TvLWltK DR')V£ .
ChLl/é/`A'K.. ALA$’KA clqj'é']

lf you fail to file your answer within the required time, a default judgment may be entered
against you for the relief demanded in the complaint

If you are not represented by an attorney, you must inform the court and all other parties in this
case, in writing, of your current mailing address and any future changes to your mailing address
and telephone number. You may use court form Notice of Change of Address / Telephone
Number (TF-955), available at the clerk’s office or on the court system’s website at
Www.courts.alaska.gov/forms.htm, to inform the court. - OR - If you have an attorney, the
attorney must comply with Alaska R. Civ. P. 5(i).

7 NOTICE OF JUDICIAL ASSIGNMENT
TO: Plaintiff and Defendant

You are hereby given notice that:
This case has been assigned to Superior Court Judge _§EHS:l-CR

 

 

 

 

 

 

 

 

and Master
l:] This case has been assigned to District Court Judge
CLERK OF COURT
\J Date Depi® Clerk

   

l certify that on § q l 13 a copy of this Summons was l:l mailed ® given to
§ plaintiff plaintiffs counsel along With a copy of the ' y
Domestic Relations Procedural Order jj Civil Pre~Trial Order `
to serve on the de e ant With the summons
Deputy Clerk l< ig §
* The State or a state officer or agency named as a defendant has O s §§ file g r. If . .
you have bna§§fs%withobirminaais mcnamara unisfsede@§;@§?i§@ nga if§;iiv§ nic E><h'b't §
your answer. a

 

 

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Ar ANCHORAGE
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Plaintiff(s), §
VS

 

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Derendam(s). ) NoTiCE ro BoTH PARTIES
) or JUDICIAL AssieNMENr
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To Defendant: ‘p ' _ _ , . __ . ‘ . l ii é§igiob 6 KEWE?M§_,
You are hereby(§ii‘mmone and requF to file with the court a Written angs&vi/\e(i?`t`d it e cg?n$}glaint
which accompanies this summons Your answer must be filed with the court at 825 W. 4th Ave.,
Anchorage, _Alaska 99501 within 20 days* after the day you receive this summons In addition,
a copy of your answer must be sent to the plaintiffs attorney or laintiff (if unrepresented)

PHER n’tCIM'Ti/RE , whose address is: ~

Chu§ ia|<,., AK @ei§e?

If you fail to file your answer Within the required time, a default judgment may be entered
against you for the relief demanded in the complaint

 

 

 

 

 

If you are not represented by an attorney, you must inform the court and all other parties in this

case, in writing, of your current mai ing address and any future changes to your mailing address ,
and telephone number. You may use court form Notice of Change of Address / Telephone l
Number (TF-955), available at the clerk’s office or on the court system’s website at
www.courts.alaska.gov/forms.htm, to inform the court. » OR ~ lf you have an attorney, the l §
attorney must comply with Alaska R. Civ. P. 5(i). /

§ , NOTICE GF IUDICIAL ASSIGNMENT
TO: Plaintiff and Defendant §

You are hereby given notice that:

This case has been assigned to Superior Court Judge m§m
and Master

I:] This case has been assigned to Distn'ct Court Judge , ‘

CLERK OF COURT
5 mfqu 208
Date

 

 

 

 

 

 

 

By: '
Depu lerk

lcertii`y that on fl l q} 13 a copy of this Suinrnons was [:l mailed ll given to
plaintiff l:l plaintiffs counsel along with a copy of the
Domestic Relations Procedural Order m Civil Pre-Trial Order

to serve on the f ant with the summons
Deputy Clerk

you have been served with this summons outside the United States, you also have 40 di§sc§p file § Exh §bit A

your answer 3- 3-ev-ooi49-RRB Doeumeni 1-1_ Fileol 03/02/13 Page
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Corporate Legal Services

Suite 202

  

k)(:T CO|’pOratiQn 800 592 9033 roll freeT

Www.ctcorporation ,com

9360 Glacier Highvvay

juneau, AK 99801

iuiy iz, 2013

Christopher Mclntyre
19978 Tulwar Drive,
Chugiak, AK 99567

 

Re; Christopher J. Mcintyre, Pltf. vs. BP Exploration and Production, lnc., et al., Dt’ts.

Case No. 3AN1308130CI

Dear Sir/Madarn:

We are herewith returning the enclosed documents which we received regarding the above captioned matter.

BP Exploration and Production, Inc. is not listed on our records or on the records of the State of AK.

Very truly yours,

C T Corporation System

Log# 523101593

Sent By Regular Mail

cc: Anchorage County District Court
825 W. 4th Ave.,

Anchorage, AK 9950 l -2004
(Returned To)

Christopher Mclntyre
19978 Tulwar Drive,
Chugiak, AK 99567

CaS€ 3213-CV-OOl49-RRB

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EXhibit A

 

 

 

